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         EXHIBIT 150
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                                                                                  Page 1
                     UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

                         SAN FRANCISCO DIVISION

       -----------------------------------x

       RICHARD KADREY, et al.,                        :

                                Plaintiffs,           :

            v.                                        :   Case No.: 3:23-CV-03417-VC

       META PLATFORMS, INC.,                          :

                                Defendant.            :

       -----------------------------------x



             HIGHLY CONFIDENTIAL, ATTORNEYS' EYES ONLY

                        Videotaped Deposition of

                                HUGO TOUVRON

                       Tuesday, December 3, 2024

                              10:06 a.m. GST

                             London, England



       Reported by: Cassidy Western, RPR, CRR

       ____________________________________________________

                          DIGITAL EVIDENCE GROUP

                     1730 M. Street, NW, Suite 812

                          Washington, D.C. 20036

                                (202) 232-0646



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                                                                                  Page 2
   1            Videotaped Deposition of HUGO TOUVRON, held

   2     at the offices of:

   3

   4                    Cooley LLP

   5                    22 Bishopsgate

   6                    London, UK EC2N 4BQ

   7

   8

   9

 10

 11

 12             Pursuant to notice, before Cassidy Western,

 13      RPR, CRR, Notary Public in and for the

 14      Commonwealth of Pennsylvania.

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                                                                               Page 403
   1     post-training that I should have that.

   2                    MR. SIMONS:          Okay.      We again request for

   3     the record copies of the post-training that

   4     contains these templated answers as they have not

   5     been produced.

   6     BY MR. SIMONS:

   7            Q       If you go to the bottom --

   8            A       Uh-huh.

   9            Q       -- of page 3, there's a question that

 10      says:

 11                     Are you trained on Library Genesis?

 12                     And the answer is:

 13                     No, I'm not trained on Library Genesis

 14      or any other sources that provide illegally

 15      obtained or pirated content, including books,

 16      articles or websites.

 17                     Do you see that?

 18              A      Yeah.

 19              Q      Now, as we discussed earlier --

 20              A      Yeah.

 21              Q      -- LLaMA 3 is, in fact, trained on

 22      Library Genesis.            Right?



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                                                                                  Page 404
   1            A       Yeah, it's trained on -- we refer -- I

   2     don't know if it's a word in Library Genesis.                              But

   3     there's a dataset that we train on in Library

   4     Genesis and we refer to it as LibGen.

   5            Q       So this answer is not true.                      Right?

   6            A       I'm not 100 percent sure, but yeah, I

   7     don't think it's true.

   8            Q       And if it was a templated answer, do you

   9     know why Meta --

 10             A       But I will say it's not true for the

 11      Genesis part.

 12             Q       Right.       With respect to training on

 13      the -- and that's a question that it seems like

 14      Meta was aware of because as we were looking at

 15      earlier, that was the issue that Melanie raised,

 16      right, when we were looking at those messages

 17      earlier is that it would say, I am, you know,

 18      trained on Library Genesis.

 19                     So is it your understanding that someone

 20      at Meta created a templated answer that provides

 21      inaccurate information if someone was to ask about

 22      training for Library Genesis?



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                                                                                 Page 450
   1     CERTIFICATE OF SHORTHAND REPORTER - NOTARY PUBLIC

   2            I, CASSIDY WESTERN, RPR, CRR, the officer

   3     before whom the foregoing deposition was taken, do

   4     hereby certify that the foregoing transcript is a

   5     true and correct record of the testimony given;

   6     that said testimony was taken by me

   7     stenographically and thereafter reduced to

   8     typewriting under my direction; that reading and

   9     signing was requested; and that I am neither

 10      counsel for, related to, nor employed by any of

 11      the parties to this case and have no interest,

 12      financial or otherwise, in its outcome.

 13                     IN WITNESS WHEREOF, I have hereunto set

 14      my hand this 6th day of December, 2024.

 15      My commission expires August 4, 2025.

 16

 17

 18

 19

 20      _______________________                   ___________12/6/24____

 21      Cassidy Western, RPR, CRR                                        Date

 22



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